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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF FLORIDA
                                  TALLAHASSEE DIVISION

ANDREW H. WARREN,
   Plaintiff,

v.                                                              CASE NO.: 4:22-CV-302-RH-MAF

RON DESANTIS, individual and in his
Official capacity as Governor of the State
of Florida,
      Defendant.
                                                                /

                               MOTION TO QUASH SUBPOENA
                              AND/OR FOR PROTECTIVE ORDER
                               AND MEMORANDUM OF LAW

         COMES NOW, Sheriff Chad Chronister, Sheriff of Hillsborough County,

Florida (“Sheriff”), 1 by and through undersigned counsel, and files this Motion to

Quash Subpoena and/or for Protective Order and Memorandum of Law, pursuant to

FEDERAL RULES OF CIVIL PROCEDURE 30 and 45, and Local Rule 7.1, and requests

that this Court quash or otherwise issue a protective Order prohibiting the Sheriff

from complying with Plaintiff’s trial subpoena, for the good cause shown, as

follows:




1
  This Motion is filed seeking protection from the Court but since the Sheriff is not a party to this case, this Motion
should not be construed as submitting to the jurisdiction of this Court.
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         On November 21, 2022, the Sheriff was served with Plaintiff’s Subpoena to

Appear and Testify, requiring the Sheriff to appear in the Northern District of

Florida, in Tallahassee, on November 29, 2022, at 9:00 am. (Subpoena, attached as

Exhibit “1”).

         However, this Court should quash or issue a protective Order prohibiting

the Sheriff’s attendance on November 29, 2022, because, due to the short notice,

the Sheriff already has a full schedule of appointments and/or commitments for

November 29, 2022, and because (1) Plaintiff’s subpoena for the Sheriff violates

FEDERAL RULE OF CIVIL PROCEDURE 45; (2) Plaintiff has previously deposed the

Sheriff and the transcript of that deposition is available pursuant to FEDERAL RULE

OF CIVIL PROCEDURE              32; and (3) The Sheriff’s testimony should be prohibited due

to the application of the “apex” doctrine.

                                        MEMORANDUM OF LAW

I.       Plaintiff’s Subpoena Violates FEDERAL RULE OF CIVIL PROCEDURE 45

         Pursuant to FEDERAL RULE OF CIVIL PROCEDURE 45(c)(1)(A), a subpoena may

command a person to attend a trial, hearing, or deposition within 100 miles of

where the person resides, is employed, or regularly transacts business in person. 2



2
  Fed. R. Civ. P. 45(c)(1)(B), is not applicable as the Sheriff is not party or a party’s officer and attending trial in
Tallahassee with only eight day’s notice would necessarily incur substantial expense.

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        It is well known, and subject to judicial notice pursuant to Federal Rule of

Evidence 201(b)(2), that Tallahassee is more than 100 miles from Tampa. 3

        FEDERAL RULE OF CIVIL PROCEDURE 45(c)(3)(A)(ii), does not permit service of

a trial subpoena on witnesses who work or reside more than 100 miles from the

courthouse. “Rule 45(c) sets forth a number of protections for persons who are

subject to a subpoena. More particularly, Rule 45(c)(3)(A)(ii) requires in pertinent

part that a court must quash or modify a subpoena that ‘requires a person who is

neither a party nor a party’s officer to travel more than 100 miles from where that

person resides, is employed, or regularly transacts business in person.’” Guenther

v. Novartiz, 297 F.R.D. 659,660 (M.D. Florida 2013). See also Dopson-Troutt v.

Novartis, 295 F.R.D. 536, n. 1 (M.D. Florida 2013); Osgood v. Discount Auto, 981

F.Supp.2d 1259 (S.D. Florida 2013); Patrick Collins, Inc. v. Does, 2012 WL 12870254

(N.D. Florida 2012); Johnson v. Big Lots, 251 F.R.D. 213, 218 (E.D. Louisiana 2008);

Brooks v. Westrock Services, 2021 WL 4987163 (N.D. Florida 2021).

        Accordingly, pursuant to Rule 45(c)(3)(A), this court must quash the

subpoena for the Sheriff since it does not comply with the provisions of Rule

45(c)(1)(A), and because the provisions of Rule 45(c)(1)(B), are inapplicable.




3
  The distance from Tampa to Tallahassee is approximately 274 miles, pursuant to Google Maps. See Dopson-
Troutt v. Novartis, 295 F.R.D. 536, n. 1 (M.D. Florida 2013).
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II.    Plaintiff has Previously Deposed the Sheriff

       On November 2, 2022, Plaintiff took the videotaped deposition of the Sheriff

in Tampa, Florida.       (Transcript, attached as Exhibit “2”).     Said videotaped

deposition began at 9:55 a.m., and concluded at 5:24 p.m. (With breaks from 11:33

a.m. through 11:49 a.m.,1:09 p.m. through 2:23 p.m., 3:48 p.m. through 4:06 p.m.,

4:06 p.m. through 4:08 p.m., and 4:52 p.m. through 5:06 p.m.).

       Pursuant to FEDERAL RULE OF CIVIL PROCEDURE 32(a)(4)(B), depositions of

witnesses residing more than 100 miles away from the trial location may be used

in lieu of live testimony. See E.g., Chao v. Tyson Foods, 255 F.R.D. 560 (N.D. Alabama

2009); Triolo v. U.S., 2020 WL 13389808 (M.D. Florida 2020); Jenkins v. Corizon

Health, 2022 WL 332383 (S.D. Georgia 2022).

       In this case, there should be no prohibition on Plaintiff’s use of the Sheriff’s

deposition at trial, as contemplated by the FEDERAL RULES OF CIVIL PROCEDURE.

       Accordingly, pursuant to FEDERAL RULE OF CIVIL PROCEDURE 32, this Court

should quash the subpoena or issue a protective Order prohibiting the Sheriff’s

compliance with said subpoena, since the Sheriff’s deposition has been taken and

the transcript is available for use at trial.




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III.   The Application of the “Apex” Doctrine.

       Under the apex doctrine, a Court may bar the testimony of a high level

executive who lacks unique or personal knowledge related to the case. In re Mentor

Corp., 2009 WL 4730321, at *1 (M.D. Georgia 2009); Minter v. Wells Fargo, 258 F.R.D.

118, 126 (D. Maryland 2009); Salter v. Upjohn Co., 593 F.2d 649, 651 (5th Cir. 1979);

Gavins v. Rezaie, 2017 WL 3034621, at *1 (S.D. Florida 2017).

       In this case, the Sheriff has been fully deposed and his testimony has

minimal relevance to the claims in Plaintiff’s Complaint (Doc. 1), including

whether, as alleged in Count One, Governor Ron DeSantis violated Plaintiff’s

rights under the First and Fourteenth Amendments in violation of 42 U.S.C. § 1983,

or as alleged in Count Two, whether Governor Ron DeSantis improperly exercised

his powers derived from the State.

       To protect high-ranking government officials from the constant distraction

of testifying in lawsuits and to avoid offending the separation of powers by

compelling their appearance in judicial proceedings, courts place “appropriate

limitations on efforts to compel their testimony.” In re USA, 624 F.3d 1368, 1373–

74, 1376 (11th Cir. 2010). Thus, “absent extraordinary circumstances,” courts will

not permit the deposition of a high-ranking corporate or government

official. Buckler v. Israel, 2014 WL 7777678, at *1 (S.D. Florida 2014). See also U.S. v.

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Wal-Mart, 2002 WL 562301, *3 (D. Maryland 2002); U.S. v. Morgan, 313 U.S. 409

(1941); Energy Capital v. US, 60 Fed. Cl. 315 (U.S. Court of Federal Claims 2004).

      For the apex doctrine to apply, the Court must first determine whether “the

government official is sufficiently high ranking to merit protection from giving a

deposition....” Buckler v. Israel, 2014 WL 7777678, at *1 (S.D. Florida 2014).

      That issue should not be in dispute in this case, since the Sheriff is a

constitutional officer of the State of Florida, pursuant to, inter alia, the Florida

Constitution Article II, Section 5; Article VIII, Section 1; Florida Statute § 26.49;

Florida Statutes Chapter 30; Florida Statute § 30.15; Florida Statute § 30.53; and

Florida Statute § 218.31(8). Furthermore, a Sheriff has been found to be sufficiently

high ranking to trigger the apex doctrine. Watts v. Parr, 2019 WL 13175559, *2

(M.D. Georgia 2019).

      Next, the party seeking the testimony must demonstrate that the official has

unique or superior knowledge of discoverable information that cannot be obtained

by other means. In re Mentor Corp., 2009 WL 4730321 (M.D. Georgia 2009); Chick-

Fil-A v. CFT Dev., 2009 WL 928226 (M.D. Florida 2009).

      In this case, Plaintiff has failed to show such “extraordinary circumstances”

that would justify the Sheriff’s mandated appearance at the trial of this matter. In

re USA, 624 F.3d 1368, 1373 (11th Cir. 2010). Plaintiff’s claims relate to actions

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taken by Governor DeSantis, not the Sheriff. As established during the Sheriff’s

deposition, Governor DeSantis requested and was provided certain materials from

the Hillsborough County Sheriff’s Office. However, the Sheriff did not compile

those documents and has limited knowledge about those documents.

Furthermore, the documents themselves require no additional explanation from

the Sheriff. Therefore, the Sheriff can offer little, if any, relevant testimony to

Plaintiff’s allegations against Governor DeSantis set for trial on November 29,

2022.

        Accordingly, because Plaintiff has failed to establish the “extraordinary

circumstances” that would justify requiring the Sheriff, who is the “apex”

constitutional officer of a government agency, to attend trial in Tallahassee, on

November 29, 2022, this Court should quash the subpoena or otherwise enter a

protective order prohibiting the Sheriff from complying with said subpoena.

        WHEREFORE, Sheriff Chad Chronister, Sheriff of Hillsborough County,

Florida, respectfully requests that this Honorable Court enter an order quashing

the subpoena served on the Sheriff or entering a protective order prohibiting the

appearance of the Sheriff at the trial of this matter on November 29, 2022, together

with such further orders as justice demands.

        Respectfully Submitted this 22nd day of November, 2022.

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                                      /s/ Christopher E. Brown
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                      LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(B), undersigned counsel has conferred with
Plaintiff’s Counsel Matt Newton, by email correspondence about the resolution of
this Motion to Quash and Plaintiff’s Counsel does NOT agree to the relief requested
herein.

    This Motion complies with Local Rule 7.1(F), as the entire Motion and
memorandum contains only 1,582 words.

                                      /s/ Christopher E. Brown
                                      CHRISTOPHER E. BROWN, ESQ.

                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 22, 2022, I electronically submitted
the foregoing with the Clerk of Court using the CM/ECF system, who will send
electronic notice to all parties.

                                      /s/ Christopher E. Brown
                                      CHRISTOPHER E. BROWN, ESQ.




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